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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                  CASE NO.: 0:24-cv-60721-RS

  DAVID GORDON OPPENHEIMER,

                         Plaintiff,
  v.

  GAZETA BRAZILIAN NEWS
  CORPORATION,

                         Defendant.


    ORDER GRANTING PLAINTIFF’S RENEWED MOTION FOR DEFAULT FINAL
  JUDGMENT AGAINST DEFENDANT GAZETA BRAZILIAN NEWS CORPORATION

        This matter is before the Court on Plaintiff’s Renewed Motion for Default Final Judgment

 [DE 20], seeking damages against Defendant Gazeta Brazilian News Corporation. On April 30,

 2024, Plaintiff, David Gordon Oppenheimer, filed his Complaint [DE 1] against Defendant, Gazeta

 Brazilian News Corp. (“Gazeta” or “Defendant”). On May 3, 2024, Gazeta was served with the

 Summons and Complaint by serving its registered agent, Tax House Corporation, at the location

 1100 S. Federal Highway, Deerfield Beach, Florida 33441. Defendant failed to respond to the

 Complaint and, on June 3, 2024, Plaintiff filed a Motion for Entry of Clerk’s Default [DE 11]. The

 following day, a Clerk’s Default [DE 12] was entered against Defendant. Plaintiff now seeks final

 default judgment. For the reasons that follow, the Motion for Default Final Judgment is granted.

 I.     Default Judgment Standard

        Once a default is entered by the Clerk of Court, a plaintiff may seek entry of a Default

 Judgment by the Court against the defaulting defendant pursuant to Federal Rule of Civil

 Procedure 55. “A ‘defendant, by his default, admits the plaintiff’s well-pleaded allegations of fact,

 is concluded on those facts by the judgment, and is barred from contesting on appeal the facts thus
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 established.’” Eagle Hosp. Physicians, LLC v. SRG Consulting, Inc., 561 F. 3d 1298, 1307 (11th

 Cir. 2009) (quoting Nishimatsu Const. Co., Ltd. v. Houston Nat’l Bank, 515 F. 2d 1200, 1206 (5th

 Cir. 1975)); Buchanan v. Bowman, 820 F.2d 359, 361 (11th Cir. 1987). However, the mere entry

 of a default does not, in itself, warrant the Court entering a default judgment. See Tyco Fire &

 Sec. LLC v. Alcocer, 218 F. App’x 860, 863 (11th Cir. 2007). Rather, the Court must accept the

 plaintiff’s well-pleaded allegations as true and determine whether they state a claim upon which

 relief may be granted. See Anheuser-Busch, Inc. v. Philpot, 317 F.3d 1264, 1266 (11th Cir. 2003).

 Thus, “before entering a default judgment for damages, the district court must ensure that the well-

 pleaded allegations in the complaint, which are taken as true due to the default, actually state a

 substantive cause of action and that there is a substantive, sufficient basis in the pleadings for the

 particular relief sought.” Tyco Fire, 218 F. App’x at 863.

        Following the entry of a default judgment, damages may be awarded “without a hearing

 [if] the amount claimed is a liquidated sum or one capable of mathematical calculation.” Adolph

 Coors Co. v. Movement Against Racism and the Klan, 777 F.2d 1538, 1543-44 (11th Cir. 1985).

 “Damages may be awarded only if the record adequately reflects the basis for award via ‘a hearing

 or a demonstration by detailed affidavits establishing the necessary facts.’” Id. at 1544 (citations

 omitted).

 II.    DISCUSSION

        A.      Copyright Infringement

        Plaintiff’s Complaint alleges a single count of copyright infringement. The Copyright Act,

 17 U.S.C. § 501(a), provides that “(a)nyone who violates any of the exclusive rights of the

 copyright owner as provided by sections 106 through 122 [17 U.S.C. §§ 106-122] or of the author

 as provided in section 106A(a) [17 U.S.C. § 106A(a)] . . . is an infringer of the copyright or right




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 of the author, as the case may be.” 17 U.S.C. § 501(a). Liability for copyright infringement occurs

 when a plaintiff can prove (1) plaintiff’s ownership of a copyright, and (2) defendant’s copying of

 the copyrighted work. See Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991).

        Plaintiff’s Complaint alleges that he created an aerial photograph of Hard Rock Stadium

 (the “Work”) and that he has a valid copyright for the Work, registered with the U.S. Copyright

 Office on May 7, 2019, under registration number VAu 1-356-215. (Compl. ¶¶ 10–11, Ex. 1.)

 The Complaint further alleges that Gazeta copied and used Plaintiff’s copyrighted Work, to

 advertise and promote its business, without authorization. (Compl. ¶¶ 14–19.) Defendant was

 never licensed to use the Work and continued its unauthorized use despite being notified by

 Plaintiff’s counsel on February 27, 2024, and April 15, 2024, of the copyright infringement.

 (Compl. ¶ 22.) Defendant refused to pay a licensing fee, indicating willful and intentional

 infringement, causing the Work to lose significant value due to its unauthorized, attribution-free

 dissemination, which reduced its scarcity and exclusivity. By defaulting, Defendant has admitted

 to these facts and Plaintiff has therefore established Defendant’s liability for willful copyright

 infringement.

        B.       Damages

        Pursuant to 17 U.S.C. § 504(b), a copyright owner is entitled to recover the actual damages

 suffered by him as a result of the infringement. Actual damages are “often [] measured by the

 revenue that the plaintiff lost as a result of the infringement.” Montgomery v. Noga, 168 F.3d

 1282, 1295 n.19 (11th Cir. 1999). The copyright owner may also recover the fair market value of

 the licensing fee that would have been charged for the work that was infringed. Hofmann v.

 O’Brien, 367 F. App’x 439, 442 (4th Cir. 2010); Lorentz v. Sunshine Health Prod., Inc., No. 09-

 61529-CIV, 2010 WL 11492992, at *5 (S.D. Fla. Sept. 7, 2010), report and recommendation




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 adopted, No. 09-61529-CIV, 2010 WL 11493070 (S.D. Fla. Nov. 15, 2010). To demonstrate

 entitlement to a reasonable license fee, the fair market value of an infringed work may be

 established by “evidence of benchmark licenses, that is, what licensors have paid for use of similar

 work.” Thornton v. J. Jargon Co., 580 F. Supp. 2d 1261, 1276 (M.D. Fla. 2008) (citing

 Montgomery v. Noga, 168 F.3d 1282, 1295 n.19 (11th Cir. 1999)).

        However, when actual damages are not established, pursuant to 17 U.S.C. § 504(c), a

 plaintiff may elect to recover statutory damages for a defendant’s infringement of a plaintiff’s

 exclusive rights in a copyrighted work, and enhancement of the statutory award based upon the

 willfulness of such infringement. Specifically, pursuant to 17 U.S.C. § 504(c)(2), a court in its

 discretion may increase an award for statutory damages up to $150,000.00 when infringement was

 committed willfully. In awarding enhanced damages in the context of § 504(c)(2), “deterrence of

 future violations is a legitimate consideration” because “Defendant must not be able to sneer in

 the face of copyright owners and copyright laws.” Cable/Home Communication Corp. v. Network

 Productions, 902 F.2d 829, 851 (11th Cir. 1990) (internal quotation omitted).

        Specifically, when an infringing party does not provide expenses saved and profits reaped

 by the infringing party, the court will instead only look to the actual damages and willful conduct

 and award an amount of three to five times actual damages to fully compensate a plaintiff and

 adequately deter similar future conduct by a defendant. See Major Bob Music v. Stubbs, 851 F.

 Supp. 475, 481 (S.D. Ga. 1994) (plaintiffs’ request of statutory damages of an amount

 approximately three times what the defendant would have paid to be licensed is a modest, just and

 appropriate award under section 504(c)”); see also Barnstormers, Inc. v. Wing Walkers, LLC, 2011

 U.S. Dist. LEXIS 47143, *15 (W.D. Tex. May 3, 2011) (“in light of Plaintiff’s $6,000 in actual




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 damages and Defendants’ willful conduct, the Court finds a just award of statutory damages to be

 three times Plaintiff’s actual damages, or $18,000”).

        The Court finds that statutory damages in the amount of $36,855.00 for willful copyright

 infringement are appropriate under 17 U.S.C. § 504(c)(2), given the nature of Defendant’s

 infringement and its refusal to participate in the legal process. Plaintiff has demonstrated that the

 fair market value of a license for the three-year use of the Work is $7,371.00 and applying a

 multiplier of five, to account for a loss in value of the Work due to its unauthorized dissemination,

 the total statutory damages are justified. Defendant’s willful infringement and its refusal to

 cooperate in the litigation process further support this enhanced amount to compensate Plaintiff

 fully and deter future violations.

        Pursuant to 17 U.S.C. § 505, “the court in its discretion may allow the recovery of full costs

 by or against any party . . . the court may also award a reasonable attorney’s fee to the prevailing

 party as part of the costs.” Upon entry of a final judgment, Plaintiff is the prevailing party in this

 action. In view of the willful nature of Defendant’s infringement and its failure to defend or

 otherwise participate in this action, an award of full costs and attorney’s fees to Plaintiff is

 appropriate. Accordingly, the Court finds that reasonable attorney fees of $3,247.50 and $540.00

 in costs are warranted under 17 U.S.C. § 505. The total recovery for David Gordon Oppenheimer:

 $40,642.50

        C.      Permanent Injunction

        Pursuant to 17 U.S.C. § 502(a), “[a]ny court having jurisdiction of a civil action arising

 under this title may, subject to the provisions of section 1498 of title 28, grant temporary and final

 injunctions on such terms as it may deem reasonable to prevent or restrain infringement of a

 copyright.” Injunctions are regularly issued pursuant to § 502 because “the public interest is the




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 interest in upholding copyright protections”; and courts also regularly issue injunctions as part of

 default judgements. Arista Records, Inc. v. Beker Enters., Inc., 298 F. Supp. 2d 1310, 1314 (S.D.

 Fla. 2003) (citation omitted) (entering permanent injunction against defendants with respect to

 plaintiff’s copyrighted work, including plaintiff’s work to be created in the future).

        Under § 502, a past infringement with a substantial likelihood of future infringements

 entitles a copyright holder to a permanent injunction against the infringer. Pac. & S. Co. v.

 Duncan, 744 F.2d 1490, 1499 (11th Cir. 1984). To obtain a permanent injunction, a plaintiff must

 establish: (1) that it has suffered an irreparable injury; (2) that remedies available at law, such as

 monetary damages, are inadequate to compensate for that injury; (3) that, considering the balance

 of hardships between the plaintiff and defendant, a remedy in equity is warranted; and (4) that the

 public interest would not be disserved by a permanent injunction. eBay Inc. v. MercExchange,

 L.L.C., 547 U.S. 388, 391 (2006) (applying these factors in a patent infringement case and noting

 that this is consistent with the Court’s treatment of injunctions under the Copyright Act); Microsoft

 Corp. v. Tech. Enterprises, LLC, 805 F. Supp. 2d 1330, 1334 (S.D. Fla. 2011) (applying factors in

 a copyright case).

        In this case, Plaintiff has established that Defendant’s unauthorized use of the copyrighted

 photograph caused irreparable harm, including a loss in the exclusivity and value of the Work.

 Defendant’s continued infringing conduct, despite notice, confirms that monetary damages alone

 are inadequate to remedy the harm caused. Moreover, the balance of hardships favors the Plaintiff,

 as Defendant has no right to use the copyrighted Work, and the public interest is served by

 enforcing intellectual property laws. Therefore, a permanent injunction is warranted.

        Accordingly, it is

        ORDERED that:




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       1.     Plaintiff’s Renewed Motion for Default Final Judgment [DE 20] is GRANTED.

       2.     In accordance with Federal Rule of Civil Procedure 58, a separate final judgment

       will be entered.

       3.     This case is CLOSED.

       DONE AND ORDERED in Fort Lauderdale, Florida, this 30th day of October, 2024.




 cc:   counsel of record




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